    2:15-cr-00472-RMG         Date Filed 12/05/16       Entry Number 741        Page 1 of 19

                                                                                                        c::
                                                                                               S1I
                                                                                               ­
                                                                                                        (.I)
                                                                                                        0
                                                                                                        ("')
                                                                                               en
                                                                                                        ("')
                                                                                               0
                                                                                               ",
                                                                                               ("")
                                                                                                       ,...,
                                                                                                       r­
                       IN THE UNITED STATES DISTRICT COURT                                             ;;1;1.;:0
                                                                                                       :X,...,
                                                                                                  I    " ("')
                           DISTRICT OF SOUTH CAROLINA                                          c:.n    ("')fr1
                                                                                                       z_
                               CHARLESTON DIVISION                                            -0
                                                                                                       l><
                                                                                                       :::0 I'T1
                                                                                              :x
                                                                                              ~
                                                                                                      MO
                                                                                                      (.I)
United States of America,                     )              Criminal No. 2:15-472-RMG                ......
                                                                                              N       c
                                              )                                               co      :z
                                                                                                      CJ)
       v.                                     )             MEMORANDUM OPINION                        ("')


                                              )
Dylann Storm Roof.                            )


       This matter carne before the Court on Defendant's motion to represent himself (Dkt. No.

666), defense counsel's (then "Standby Counsel,,)l objections to limitations on the role of Standby

Counsel (Dkt. No. 704), Standby Counsel's objections to permitting Defendant to proceed pro se

(Dkt. No. 718), and Defendant's motion for the reappointment of counsel only for the guilt phase

of trial (Dkt. No. 728).    The Court granted Defendant's motion to self-represent orally on

November 28, 2016 (Dkt. No. 672 at 9), for reasons memorialized in its opinion of November 29,

2016 (Dkt. No. 691). When granting Defendant's motion to represent himself, the Court also

appointed former defense counsel as Standby Counsel. (Dkt. No. 672 at 9-10.) On December 5,

2016, the Court granted Defendant's motion for the reappointment of counsel only for the guilt

phase of trial. (Dkt. No. 740.)

       During the voir dire process, when Defendant proceeded pro se with Standby Counsel, the

Court found it necessary to issue orders orally limiting the role of Standby Counsel, and Standby

Counsel filed Eighth Amendment objections to those limitations and to Defendant being permitted

to self-represent at all. The Court, after full consideration ofthe many briefs submitted by Standby

Counsel and the Government (Dkt. Nos. 679, 692, 694, 704, 708, 715, 718, 730), issues this

Opinion to memorialize its reasons for limiting the role of Standby Counsel over the objections of



1In this Opinion, the Court uses "Standby Counsel" to refer to Defendant's counsel in the period
November 28,2106 to December 5, 2016.


                                                  -1­
     2:15-cr-00472-RMG         Date Filed 12/05/16      Entry Number 741        Page 2 of 19




Standby Counsel and for granting Defendant's motion for the reappointment of counsel only for

the guilt phase of trial. This Opinion will also inform Defendant about the role standby counsel

may perform in the event he persists with his present intention to self-represent during any penalty

phase.

I.       Background

         Defendant Dylann Roof is accused ofkilling nine persons and attempting to kill three other

persons at the Emanuel African Episcopal Church in Charleston, South Carolina. He was indicted

on various federal charges on July 22, 2015, and on May 24, 2016, the Government served notice

of intent to seek the death penalty. (Dkt. Nos. 1, 164.) The Court appointed David L Bruck, an

attorney with extensive trial and appellate experience in capital cases, as lead counsel for

Defendant on July 23,2015. (Dkt. No. 11.) The Court thereafter approved additional trial counsel

and a variety of expert witnesses to assist in the defense.

         Under circumstances discussed in the Court's prior opinion of November 29, 2016 (Dkt.

No. 691), on November 27,2016, Defendant moved to represent himself at trial. (Dkt. No. 666.)

The following day, the Court held a Faretta hearing. At the conclusion of the examination, the

Court found Defendant had made a clear and unequivocal waiver of his right to counsel and of his

desire to represent himself; that his decision was made knowingly, intelligently, and voluntarily;

that his decision was timely; and that has the capacity to represent himself. (Dkt. No. 672 at 9.)

The Court again admonished Defendant that his decision was "strategically unwise."             (ld.)

Defendant nonetheless again confirmed-unambiguously-his knowing and intelligent waiver of

his right to counsel and decision to represent himself. The Court then granted Defendant's motion.

The Court appointed Defendant's former counsel as Standby Counsel without objection from

Defendant. (Id. at 9-10.)




                                                 -2­
    2:15-cr-00472-RMG         Date Filed 12/05/16       Entry Number 741        Page 3 of 19




       The Court then proceeded to voir dire. 2       During voir dire, confusion regarding the

respective roles of Defendant and Standby Counsel became apparent. For example, during the

lunch break of the second day of voir dire, Standby Counsel filed a "motion for additional voir

dire questions" requesting additional follow-up questions be posed to certain veniremen already

qualified--even though Defendant stated in open court that he had no further questions for those

veniremen. (Dkt. No. 684.) The Court strongly admonished that Standby Counsel are not co­

counsel with Defendant and that the Court would not allow the defense to speak with two voices-

and certainly would not allow Standby Counsel to contradict Defendant. Nonetheless, the next

morning (a mere 19 hours later) Standby Counsel filed a "second motion for additional voir dire

questions" complaining that the rate ofjury qualification had increased and requesting six changes

in how the Court phrases voir dire questions. (Dkt. No. 695.) Then, 19 hours after that motion,

Standby Counsel filed a third motion for additional voir dire questions. (Dkt. No. 703.) That third

motion, filed at 1 a.m. on December 1, 2016, was the first of jive motions Standby Counsel filed

on December 1.

       Defendant proceeded pro se for the entire period of voir dire. On December 2, 2016, the

Court completed voir dire and scheduled final jury selection and empanelment for December 7,

2016, with opening statements to follow immediately thereafter. (See Dkt. Nos. 724 & 725.) On

December 4, 20 16-after voir dire but before jury empanelment-Defendant moved for Standby

Counsel to be reappointed as his counsel of record only for the guilt phase of his trial and to be

allowed to (again) proceed pro se during any sentencing proceeding. (Dkt. No. 728.) The Court

granted that motion at the pretrial conference held on December 5,2016. (Dkt. No. 740.)




2 Defendant assured the Court that ifhe were allowed to self-represent that it would not delay trial
proceedings because he was ready to commence with jury selection.


                                                -3­
       2:15-cr-00472-RMG       Date Filed 12/05/16      Entry Number 741        Page 4 of 19




II.      Legal Standard

         The Sixth Amendment provides both the right to counsel and the right to self-

representation. Faretta v. California, 422 U.S. 806, 807 (1975). Those rights are mutually

exclusive-"assertion ofone constitutes a de facto waiver ofthe other." United States v. Singleton,

107 F.3d 1091, 1096 (4th Cir. 1997). A defendant may choose to be represented by competent

counsel, or he may choose to proceed pro se.            There is no right to "any intermediate

accommodation."       Id at 1102.   A pro se defendant has no right to standby counsel, and,

consequently, no right to have standby counsel perform any particular function on his behalf. See

id at 1100-01. The trial court has broad discretion to define "what, if any, assistance standby, or

advisory, counsel may provide a defendant conducting his own defense."             United States v.

Lawrence, 161 F.3d 250, 253 (4th Cir. 1998). But the trial court should take care to prevent the

use of standby "counsel as an instrument to distort the system," which "'[a] skillful defendant"'­

or skillful standby counsel-"'could manipulate ... to create reversible error. '" Singleton, 107

F.3d at 1096, 1102 (quoting Fields v. Murray, 49 F.3d 1024, 1029 (4th Cir. 1995) (en banc)).

III.     Discussion

A.       Authority of the Court to control standby counsel in capital cases

         Standby Counsel argued that Court's discretion to limit the involvement of standby counsel

in a capital case is distinct from the question of the Court's discretion to limit the involvement of

standby counsel generally, and that the Eighth Amendment limits trial courts' control over standby

counsel in capital cases. 3 (Dkt. No. 704 at 1.) Standby Counsel also objected that Defendant has


3 Though "Defendant's Eighth Amendment Objection. to Trial Proceedings" (Dkt. No. 704) is
styled as an objection by the "defendant, by and through standby counsel," it is obvious to the
Court that Standby Counsel were arguing their own view of what their own role should be in this
case. Standby Counsel conceded this with their subsequent filing, "Eighth Amendment Objection
to Permitting Defendant to Proceed Pro Se in a Capital Trial" (Dkt. No. 718). Defendant made
clear to the Court-including after the filing of docket entry 718-that he objects to Standby

                                                -4­
    2:15-cr-00472-RMG         Date Filed 12/05/16      Entry Number 741         Page 5 of 19




no right to self-representation at all in capital sentencing proceedings. (Dkt. No. 718.) It is

appropriate to address the scope of the Court's authority to define the role of standby counsel in a

capital case before the Court proceeds to the role and function of Standby Counsel in this case. As

explained below, the Court a capital defendant has the right to represent himself, and the Court has

equal discretion over the role of standby counsel in capital and non-capital cases.

       Standby Counsel argued that Defendant has, under the Eighth Amendment, an unwaivable

right to counselor, at the least, a right to the appointment of standby counsel. (Dkt. No. 704 at 6­

7 ("It should go without saying that the Constitution entitles a pro se defendant to reasonable,

limited assistance from standby counsel, of the sort requested here, when he is on trial for his

life."); Dkt. No. 718 (arguing Eighth Amendment concerns prevent a capital defendant from

discharging counsel and self-representing).) This is the crux of Standby Counsel's argument. If

Defendant has a constitutional right to standby counsel, it must follow that there are substantial

constitutional limits on the discretion of the Court to limit the involvement of Standby Counsel in

his case. Cf Singleton, 107 F.3d at 1103 (trial court has broad discretion to limit role of standby

counsel because there is no right to standby counsel). And ifhe has an unwaivable right to counsel,

there would be no standby counsel to limit. But there are no such rights. Although Standby

Counsel argued the heightened reliability and special protections the Constitution requires in



Counsel's efforts to offer evidence over his objections. Standby Counsel asserted they are
nonetheless authorized to file that objection because "the issues relate to the defendant's capacity
to enter a waiver of counsel in the first instance." (Dkt. No. 718 at 1.) Having succeeded in his
Faretta motion, Defendant himselfis judicially estopped from arguing that he has no Faretta right
in this case (of course, nothing prevents him from reconsidering his assertion of that right, as he
did on December 4, 2016). See generally New Hampshire v. Maine, 532 U.S. 742 (2001). But
estoppel is an equitable doctrine that should not make it impossible to adjudicate whether a capital
defendant has a constitutional right to self-representation. The Court therefore agrees Standby
Counsel were authorized to file their Eighth Amendment objection to permitting Defendant to
proceed pro se-although the open conflict between Defendant and Standby Counsel regarding
the objection was certainly evidence of the need for the Court to define Standby Counsel's role.


                                                -5­
    2:15-cr-00472-RMG         Date Filed 12/05/16      Entry Number 741         Page 6 of 19




capital cases include provision of standby counsel for pro se defendants-and that those

requirements completely preempt a capital defendant's right to proceed pro se (Dkt. No. 718)­

they cited no authority in support of that argument.

       Standby Counsel claimed they lack authority for their position because "[t]his is not a

question that arises frequently" and because "this is an issue of first impression" in this Circuit.

(Dkt. No. 704 at L) They appear to be correct insofar as there is no Supreme Court or Fourth

Circuit case indistinguishably on point,4 but federal courts have repeatedly considered and rejected

Standby Counsel's argument:

       •   In Alkebulanyahh v. Byars, a habeas review of a death sentence, the District of

           South Carolina held "ifa criminal defendant choose to represent himself, he has

           no right to standby counseL" 2015 WL 2381353, at * 15 (D.S.C. May 18,2015),

           appeal docketed, No. 15-3 (4th Cir. Oct. 30,2015).

       •   In Lay v. Trammell, a habeas review of a death sentence, the petitioner argued,

           on direct appeal, "that a defendant in a capital criminal trial has no

           constitutional right to proceed without counsel during the penalty phase of

           trial." 2015 WL 5838853, *22 (N.D. Okla. Oct. 7,2015). The Oklahoma Court

           of Criminal Appeals had held "the right of self-representation is not limited

           based upon the type of trial, and the law allows a competent defendant to waive

           any right to counsel during any phase of a capital trial." ld. The Northern

           District of Oklahoma found no misapplication of federal law, because "neither




4 However, in Townes v. Murray, the Fourth Circuit affirmed the district court's determination that
a capital defendant's Faretta hearing in state court met constitutional requirements-which rather
strongly indicates a view that the Eighth Amendment does not prohibit capital defendants from
exercising their Faretta rights. 68 F.3d 840, 845 (4th Cir. 1995).


                                                -6­
2:15-cr-00472-RMG         Date Filed 12/05/16       Entry Number 741          Page 7 of 19




      Faretta nor any subsequent ruling by the United States Supreme Court limits

      the Sixth Amendment right to self-representation to non-capital cases."

  •   In United States v. Fields, a federal capital prosecution, the trial court instructed

      standby counsel "that they could not 'represent [Defendant] through

      [Defendant]" and that the defendant himself was responsible for making

      statements to the court. 483 F.3d 313, 361 (5th Cir. 2007) (the trial court later

      expanded standby counsel's role when the pro se defendant refused to abide by

      rules of procedure and courtroom protocol).

  •   In Simpson v. Battaglia, an appeal from a habeas review of a death sentence,

      the Seventh Circuit held "[t]he Faretta right and the appointment of standby

      counsel inherently conflict which, taking into account that hybrid representation

      is not required, supports the conclusion that there is no right to standby

      counsel." 458 F.3d 585, 597 (7th Cir. 2006) (citation omitted). The Seventh

      Circuit also noted that "[appellant] does not provide, nor could we find, a

      Supreme Court case holding standby counsel in a capital case should be treated

      any differently" than standby counsel in a non-capital case. ld.

  •   In United States v. Davis, the Fifth Circuit granted a writ of mandamus to

      reverse a district court decision to appoint an independent counsel to present

      mitigation evidence on behalf of a pro se capital defendant, because that

      decision "cannot be squared with [the defendant's] self-representation right."

      285 F.3d 378,384 (5th Cir. 2002).

  •   In Nelson v. Alabama, the Eleventh Circuit affirmed a district court's

      determination that the state court reasonably applied Faretta when it permitted



                                            -7­
    2:15-cr-00472-RMG          Date Filed 12/05/16      Entry Number 741         Page 8 of 19




           a capital defendant to self-represent, despite not holding a fonnal Faretta

           hearing. 292 F.3d 1291, 1297 (11th Cir. 2002).

       •   Finally, in Silagy v. Peters, the Seventh Circuit addressed a habeas petitioner's

           argument that "that the right recognized in Faretta is not applicable within the

           context of a sentencing hearing in a capital case," stating, "we disagree." 905

           F.2d 986, 1007 (7th Cir. 1990). The court explained that it could "think of no

           principled reason to deny a death-eligible defendant his Faretta right to proceed

           without the assistance of counsel. If an individual in a capital sentencing

           hearing wishes to proceed pro se, Faretta grants him the right to do so." Id.

       Standby Counsel also made what appears to be a Fifth Amendment or Sixth Amendment

argument that the complexity of capital defense litigation makes standby counsel for pro se

defendants necessary. (Dkt. No. 704 at 4-5.) That argument is without merit. The constitutional

right of self-representation is not contingent on the complexity of the litigation. Obviously,

Defendant is professionally unqualified to I1,1anage this litigation or any other litigation. But "the

competence that is required of a defendant seeking to waive his right to counsel is the competence

to waive the right, not the competence to represent himself." Godinez v. Moran, 509 U.S. 389,

399 (1993). Where-as here-a defendant is not suffering from mental illness to the point he is

incompetent'to conduct trial proceedings, his "ability to represent himself has no bearing upon his

competence to choose self-representation." Id. at 400; see also Indiana v. Edwards, 554 U.S. 164,

177-78 (2008).     And to choose self-representation means to represent oneself, not hybrid

representation or "to choreograph special appearances by counsel." See McKaskle v. Wiggins, 465

U.S. 168, 183 (1984); Singleton, 107 F.3d at 1096-1102. Of course, if Defendant feels this case

is too complex for him to manage pro se, he may assert his right to counsel, as he did on December




                                                 -8­
    2:15-cr-00472-RMG           Date Filed 12/05/16       Entry Number 741         Page 9 of 19




4,2016. (Dkt. No. 728.) The Court has repeatedly reminded Defendant of his right to do so, and,

by this Opinion, reminds him again of his right to be represented by counsel.

        In their second Eighth Amendment filing, Standby Counsel framed this argument as an

Eighth Amendment violation, arguing that because a capital trial is "the most complicated

proceeding known to the criminal law," an "untrained layperson" cannot through pro se efforts

achieve the "heightened reliability" required by the Eighth Amendment, and that the Sixth

Amendment right to self·representation is inapplicable because the Sixth Amendment language

"[i]n all criminal prosecutions" "does not by its terms apply to the penalty phase of a capital

proceeding." (Dkt. No. 718 at 2-3.) That reframed argument remains without merit. Sentencing

is part of criminal prosecution, and the Sixth Amendment of course applies to capital sentencing

proceedings-were it not so, a defendant would have neither the right to self·representation nor

the right to counsel.     We would instead have a court·driven, inquisitorial inquiry. That is,

obviously, not the law.

       Finally, Standby Counsel argued the Eighth Amendment requirement for heightened

reliability in capital proceedings and the public interest in the integrity and efficiency of the trial

outweigh the Sixth Amendment right to self·representation, at least with regard to the sentencing

proceeding. s (Dkt. No. 718 at 2,4-7; Dkt. No. 704 at 6-8.) Standby Counsel's arguments mirror

points raised by Justice Thurgood Marshall when dissenting from the denial of a stay of execution

in Lenhard v. WoljJ. 444 U.S. 807 (1979). In Lenhard, the defendant, Jesse Bishop, faced a capital




5 Standby Counsel argued there is no Sixth Amendment right in capital sentencing only on page
three of docket entry 718. In the view of the Court, that argument is absurd. Otherwise, Standby
Counsel admitted or at least assumed a Sixth Amendment right throughout a capital prosecution,
but argued that, because of the unique nature of the death penalty, other constitutional interests
outweigh the Sixth Amendment right to self·representation in capital cases. As explained in this
Opinion, that is a dissenting view and not the law.
   2:15-cr-00472-RMG           Date Filed 12/05/16    Entry Number 741        Page 10 of 19




murder charge. Id. at 808. He stated he wished to self-represent. Id. His competency was then

assessed. Id. After hearing testimony from court-appointed psychiatrists, the trial judge found the

defendant competent. Id. The trial judge then advised the defendant "that pro se representation

was ill-advised when facing the death penalty." Id.      The defendant nevertheless insisted on

proceeding pro se. Id. Faretta compelled the trial judge to grant the defendant's motion for self­

representation, but the judge did appoint his former defense counsel as standby counsel. Id. at

808-09. At the sentencing phase of the trial, the defendant decided to present no evidence in

mitigation. Id. at 809. Standby counsel sought to present mitigation evidence, but the defendant

refused to allow it. Id. The trial court "acceded to his wishes and did not allow standby counsel

to proceed." Id.       "Finding the existence of aggravating circumstances and noting that [the

defendant] had offered no proof of mitigating the circumstances, the court imposed the death

penalty." Id. "The court reasoned that, under Faretta, [the defendant] had the absolute right to

represent himself and to decline to introduce any mitigating evidence." Id.

       The Supreme Court refused to grant a stay of execution. Id. at 807-08. Justice Marshall

dissented that the failure to introduce any mitigating evidence deprived the sentencing court of

evidence needed to make the "individualized consideration of the capital defendant" required by

the Eighth Amendment, and thereby infringed "[s]ociety's independent stake in enforcement of

the Eighth Amendment." Id. at 811-14. Standby Counsel presented that dissenting argument to

this Court (see Dkt. No. 718 at 2,6-7), but this Court recognized-as Justice Marshall did-that

a dissenting view is not the law. See Lenhard, 444 U.S. at 810. To the contrary, the law requires

the Court, in Standby Counsel's words, to "treat[] the defendant's Faretta right as paramount."

(Dkt. No. 704 at 7.)




                                               -10­
     2:15-cr-00472-RMG           Date Filed 12/05/16    Entry Number 741         Page 11 of 19




        In United States v. Davis, the district court appointed counsel to present mitigating

evidence over the objections of a defendant who wished to present no true mitigation defense but

instead wished to re-litigate guilt in the penalty phase. In granting the defendant's petition for a

writ of mandamus to reverse that decision, the Fifth Circuit explained,

        The district judge appointed the independent counsel because she wants the jury to
        have a complete picture of all possible traditional mitigating factors. In her view,
        society's interest in a full and fair capital sentencing proceeding can only be served
        if all possible aggravating and mitigating factors are presented to the jury. While
        this notion is certainly noble, it cannot be squared with Davis's self-representation
        right. Faretta teaches us that the right to self-representation is a personal right. It
        cannot be impinged upon merely because society, or ajudge, may have a difference
        of opinion with the accused as to what type of evidence, if any, should be presented
        in a penalty trial.

285 F.3d 378,384 (5th Cir. 2002). The right of self-representation protects the individual right to

autonomy, not societal interests. "The core of a defendant's right to pro se representation is his

ability to preserve actual control over the case he chooses to present to the jury. This is so

regardless of whether society would benefit from having a different presentation of the evidence."

Davis, 285 F.3d at 385 (citation omitted). If tensions between important public interests and

constitutionally protected individual rights categorically resolved in favor of the public, our

landscape of individual freedoms would be barren.

        The Court therefore concluded that its decision to permit Defendant to self-represent in this

matter was a correct application of Faretta, and that its discretion to manage the role of standby

counsel in a capital case is no different from its broad discretion to manage the role of standby

counsel in a non-capital case.

B.     The Court's exercise of discretion in rejecting the hybrid or co-counsel role for
       standby counsel

        Having concluded the Court has broad discretion to define what if any assistance standby

counsel may provide in a capital case, the Court now addresses why a primarily consultative role



                                                 -11­
   2:15-cr-00472-RMG          Date Filed 12/05/16       Entry Number 741        Page 12 of 19




for Standby Counsel was necessary and why a hybrid or co-counsel role was neither acceptable

nor workable. The Court's experience after completing one week of court-directed individual voir

dire confirmed the correctness of the initial orders limiting Standby Counsel to a primarily

consultative role, which Standby Counsel repeatedly disregarded.

       In the course of the week of voir dire, Standby Counsel repeatedly challenged and

contradicted decisions and actions (or decisions not to act) by Defendant in representing himself

or otherwise made a mockery of the concept of self-representation. For example, on December 1,

2016, Defendant purportedly made five written motions despite being in court all day. (Dkt. Nos.

684,695,703,712.) Ofcourse, those motions were filed by Standby Counsel acting independently

of Defendant. It is rather unlikely Defendant, currently incarcerated, was available to request a 1

a.m. filing. (See Dkt. No. 684.) It also strains credulity to imagine Defendant-who on December

I was actively participating in courtroom proceedings from about 9 a.m. to about 6 p.m.­

requested Standby Counsel to file five motions on that same day without mention to the Court.

       Motions filed by Standby Counsel also contradicted Defendant's courtroom statements (or

silence), seeking questioning of qualified veniremen that differed from what Defendant requested

during voir dire proceedings or a trial schedule different from what was discussed with Defendant

in open court. (See, e.g., Dkt. Nos. 684, 695, 703, 712.) Standby Counsel even filed motions

opposed by Defendant. (See, e.g., Dkt. No. 718.) The Court would never allow a lawyer to take

a position in open court, only to have his co-counsel file a motion contradicting that position while

he is still in the courtroom. Nor would the Court permit such actions from a pro se party and his

standby counsel. Such behavior makes it impossible to manage trial proceedings. 6 The Court



6 During voir dire, outside of the presence of the venire, the Court made passing reference to the
conflicting directives from Defendant and Standby Counsel as producing a "two-headed monster."
A member of the defense team, for whom the Court has the highest regard, later told the Court she

                                                -12­
    2:15-cr-00472-RMG          Date Filed 12/05/16       Entry Number 741         Page 13 of 19




could not be left to wonder whether Defendant's courtroom statements or silence should be taken

as his position, or whether they should be ignored in favor of whatever contrary statement Standby

Counsel are at that very moment using ECF to file.

        The Court's decision to limit Standby Counsel's role to a primarily consultative one was

based upon three quite compelling factors, each independently sufficient to support the Court's

exercise of discretion in this matter. First, allowing Standby Counsel to perform as co-counsel and

to contradict or challenge the decisions of Defendant acting as his own counsel produces a

disorganized, incoherent, and chaotic situation. Defense counsel in a criminal proceeding must

necessarily make myriad decisions, large and small, in the course of a single day. These include

whether to object or not to object, to raise issues or not to raise issues, to call witnesses or not to

call witnesses, and to cross-examine a witness or not to cross-examine a witness. The defendant

must speak with one voice. A self-representing defendant and standby counsel acting as co­

counsel (and sometimes conflicting counsel) is simply unworkable.

       Second, a criminal trial is organized on certain foundational principles, one being that if a

criminal defendant represented by counsel wishes to speak he must take the stand and submit

himself to cross-examination. A defendant who self represents is allowed certain liberties to fulfill

his constitutional right of self-representation, which entitled him to engage directly or indirectly

with the jury. These include the right to make opening and closing statements, raise objections,

and examine and cross-examine witnesses. None of these functions requires him to submit to

cross-examination. If a criminal defendant could enjoy the potential benefits ofself-representation



took the statement as a personal reference and took offense to it. As the Court explained orally,
this term was meant only as a metaphor for difficulties with the co-counselor hybrid role of
standby counsel and was in no way intended as a personal reference to defense counsel. To the
contrary, the Court has great respect for the zealousness defense counsel have shown in
representing Defendant.


                                                 -13­
     2:15-cr-00472-RMG        Date Filed 12/05/16       Entry Number 741         Page 14 of 19




while continuing to be represented by counsel, this would fundamentally alter the nature of the

criminal trial and disrupt long-standing practices and procedures that promote a fair and just

adjudication process.

       Third, the use of the self-representation with co-counsel model is an obvious charade and

manipulation of the system that creates a circus type atmosphere in the courtroom. This would

threaten to destroy the solemnity of the criminal adjudication process and to bring the court

proceedings into public disrepute. As the Fourth Circuit observed in Singleton, "the Constitution

does not require such a manipulable and unwise arrangement." 107 F.3d at 1101. And as the

Supreme Court noted in McKaskle, "a defendant does not have a constitutional right to

choreograph special appearances by counsel" and "Faretta does not require a trial judge to permit

'hybrid representation." 465 U.S. at 183.

C.     The role of standby counsel in this case

       The Court has found much wisdom in the following statement of the West Virginia

Supreme Court regarding the need of the trial court to set forth specifically the parameters of the

role of standby counsel:

       Trial courts can easily remedy the confusion surrounding the differing roles
       apparently filled by standby counsel by exercising their supervisory powers to
       specifically define or restrict the duties of standby counsel whenever such counsel
       is appointed. See Lawrence, 161 F.3d at 253 ("[T]he district court, in keeping with
       its broad supervisory powers, has equally broad discretion to guide what, if any,
       assistance standby, or advisory, counsel may provide to a defendant conducting his
       own defense." (citation omitted)). Given the lack of clarity over what, exactly, is
       the role of standby counsel, we find it is of the utmost importance that, when
       appointing standby counsel, trial courts do in fact define, precisely, the role counsel
       is expected to assume. Furthermore, trial courts should clearly inform counsel and
       the defendant of that role.

West Virginia v. Powers, 563 S.E.2d 781, 788 (W.Va. 2001). The Court appointed Standby

Counsel as "standby counsel" and not as hybrid counselor co-counsel. (Dkt. No. 672 at 9-10.) If

Defendant persists in his present intention to self-represent, the Court anticipates it will reappoint


                                                -14­
   2:15-cr-00472-RMG         Date Filed 12/05/16      Entry Number 741        Page 15 of 19




his defense counsel as standby counsel. The relevant ABA standard governing standby counsel's

conduct provides,

       Defense counsel whose duty it is to assist a pro se accused only when the accused
       requests assistance may bring to the attention of the accused matters beneficial to
       him or her, but should not actively participate in the conduct of the defense unless
       requested by the accused or insofar as directed to do so by the court.

ABA Defense Function Standards 4-3.9(2) (3d ed. 1993). This Opinion memorializes the role of

Standby Counsel in this matter as directed by the Court during voir dire, which will also be the

role of standby counsel, if any, in any future sentencing proceeding.

       The Court instructed Standby Counsel in open court to limit their functions to the

following: (1) to consult with Defendant before and after court proceedings and during breaks in

court proceedings, (2) to sit with Defendant at counsel's table and provide "elbow advice" directly

to Defendant during court proceedings, and to serve as an intermediary between Government

counsel and Defendant, (3) to facilitate Defendant's receipt of filings and other communications

delivered to counsel. Those role specific roles-and only those specific roles-were the roles

assigned to Standby Counsel.

       If Defendant wished Standby Counsel to perform any other function, Defendant-directly

and not through Standby Counsel-was required to inform the Court that he wished Standby

Counsel to perform a specific function to assist him. He was required to explain to the Court why

he was unable to perform that function himself. The Court would then determine whether to

authorize Standby Counsel to perform that function. Any such authorization would be no broader

than the performance of that specific function at that time. Standby Counsel could not file any

motion unless Defendant first requested it and the Court then authorized Standby Counsel to file

it on behalf of Defendant. Further, Standby Counsel could not speak for Defendant--or perform

any function other than giving Defendant "elbow advice"-in the presence of the jury or any



                                               -15­
     2:15-cr-00472-RMG        Date Filed 12/05/16       Entry Number 741         Page 16 of 19




potential juror. See Singleton, 107 F.3d at 1103 (holding the district court has discretion "to insist

that [Defendant's] case be presented in court either by his attorney or by himself, but not by a

combination of the two").

        The Court adopted these limitations to provide clear definition to Standby Counsel's role

to ensure that the defense speaks with a single voice, to maintain an orderly trial process that does

not allow Defendant and Standby Counsel to manipUlate Defendant's Faretta rights to enjoy the

benefits of self-representation while maintaining de facto representation from Standby Counsel as

co-counsel, and to preserve the dignity and decorum of courtroom proceedings.

D.     Defendant's motion to go back and forth between representation by counsel and
       self-representation

       After the completion ofvoir dire, Defendant moved for Standby Counsel to be reappointed

as his counsel of record, but only for the guilt phase of his trial. (Dkt. No. 728.) He asked to be

permitted to proceed pro se at any sentencing hearing. A request to self-represent after the jury

returns a verdict may be considered untimely and therefore within the discretion of the Court to

deny. Although permitting a defendant to vacillate from self-representation and representation by

counsel could frustrate the orderly administration of justice, the Court deemed the potential

disruption from permitting Defendant to be represented by counsel for the entirety of the guilt

phase to be manageable and outweighed by the potential disruption of a capital defendant

proceeding pro se. The Court therefore exercised its discretion to grant Defendant's motion. (Dkt.

No. 740.)

       The right of self-representation may be waived ifnot asserted in a timely manner. Martinez

v. Ct. App. Cal., 4th App. Dist., 528 U.S. 152, 162 (2000); United States v. Frazier-El, 204 F.3d

553,558 (4th Cir. 2000). Defendant proposed to wait until after the jury returns a verdict to assert

his right to represent himself. (Dkt. No. 728.) That certainly could be seen as an untimely assertion



                                                -16­
   2:15-cr-00472-RMG          Date Filed 12/05/16       Entry Number 741         Page 17 of 19




of the right to self-represent. Once trial has begun, motions for self-representation are generally

untimely and the right to self-representation may be waived. See, e.g., Wood v. Quarterman, 491

F.3d 196, 202 (5th Cir. 2007) (finding no basis for habeas reHef where the trial court denied as

untimely self-representation request made after the jury returned a guilty verdict but before the

sentencing phase of the trial); Stenson v. Lambert, 504 F.3d 873, 882, 884 (9th Cir. 2007) (same

where motion for self-representation was made during voir dire and "on the verge of jury

[e]mpanelment"); United States v. Edelmann, 458 F.3d 791, 808-09 (8th Cir. 2006) (finding

untimely a self-representation request made four days before trial); Singleton, 107 F.3d at 1099

("[I]f a defendant first asserts his right to self-representation after trial has begun, the right may

have been waived."); Lawrence, 605 F.2d at 1325 (holding self-representation rights properly

found waived when asserted after "meaningful trial proceedings had commenced").

       Courts typically do not allow a defendant to proceed pro se once the trial has begun with

Defendant represented by counsel to ensure the right to self-representation is not "used as a ploy

to frustrate the orderly procedures ofa court in the administration ofjustice." Lawrence, 605 F.2d

at 1325. Requests for self-representation may not be "used as a tactic for delay; for disruption; for

distortion of the system; or for manipUlation of the trial process" and "[a] trial court must be

permitted to distinguish between a manipulative effort to present particular arguments and a

sincere desire to dispense with the benefits of counsel." Frazier-El, 204 F.3d at 560 (citations

omitted). To ensure Defendant was not engaging in such tactics, the Court engaged him in an

extensive colloquy at the December 5, 2016 pretrial conference.              Defendant clearly and

unequivocal1y stated his desire to waive irrevocably his right to self-representation during the guilt

phase of this case. The Court informed Defendant that defense counsel would have ultimate

control over all strategic and tactical decisions in the conduct ofthe guilt phase, including deciding




                                                -17­
     2:15-cr-00472-RMG         Date Filed 12/05/16        Entry Number 741          Page 18 of 19




what evidence to present and what arguments to make. Defendant acknowledged that he would

not be permitted to reassert his right to   self~representation   if defense counsel present evidence or

argument of which he disapproves. After those admonitions, Defendant again unequivocally

stated his desires to waive his right to self-representation during the guilt phase and to assert his

right to self-representation during any penalty phase.

        The Court then granted his motion for reappointment of counsel for the guilt phase only.

The Court exercised its discretion not to find Defendant's intended post-verdict assertion of his

right to self-represent untimely for three reasons. First, the guilt phase of the trial is a proceeding

discrete from any penalty phase, and a switch from representation by counsel to self-representation

will not pose the same potential for courtroom confusion or conflict as would, for example,

switching between professional and pro se witness examinations within a single trial phase.

Second, the Court is satisfied Defendant waived his right to self-represent in the guilt phase fully

understanding that his waiver is irrevocable, even if he and his counsel have disagreements about

strategy. Third, the Court believes the interests of justice are served best through professional

representation of capital defendants.

E.      Government's requests to unseal and to ask Defendant to withdraw motions

       The Government requested its first brief on the role of Standby Counsel be unsealed. (Dkt.

No. 692 at 1 n.l.)     Although none of Standby Counsel's briefs was filed under seal, the

Government's brief repeatedly and explicitly refers to sealed matters (see id. at 1,5,6), and so the

Court declines to unseal the Government's first brief. The Government also requested the Court

to ask Defendant whether he wishes to withdraw two motions (Dkt. Nos. 665 & 667) filed by

counsel. (Dkt. No. 692 nA.) The Court declines that request as moot.




                                                  -18­
      2:15-cr-00472-RMG       Date Filed 12/05/16       Entry Number 741       Page 19 of 19




IV.      Conclusion

         For the foregoing reasons, the Court limited the role of Standby Counsel to the role

described in this Opinion and granted Defendant's subsequent motion for reappointment of

counsel for the guilt phase of trial only (Dkt. No. 728).

         AND IT IS SO ORDERED.




                                                       ~k~
                                                       United States District Court Judge

December S-, 2016
Charleston, South Carolina




                                                -19­
